                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

IN RE: REALPAGE, INC., RENTAL                       Case No. 3:23-MD-3071
SOFTWARE ANTITRUST LITIGATION                       MDL No. 3071
(NO. II)
                                                    This Document Relates to:
                                                    All Cases

                                                    Chief Judge Waverly D. Crenshaw, Jr.




    DEFENDANT MID-AMERICA APARTMENT COMMUNITIES, INC. AND MID-
     AMERICA APARTMENTS, L.P.’S UNOPPOSED MOTION TO EXCUSE LIVE
         APPEARANCE OF BRITT M. MILLER AT OCTOBER 11, 2024,
                       STATUS CONFERENCE

       Defendants Mid-America Apartment Communities, Inc. and Mid-America Apartments,

L.P. (“MAA”) respectfully move for leave to excuse MAA’s counsel, Britt M. Miller, member of

Defendants’ Liaison Counsel and Steering Committee, from appearing live at the October 11, 2024,

Status Conference, as Ms. Miller has a potential conflict with a previously scheduled two-day

evidentiary hearing on another matter pending in the U.S. District Court for the Northern District

of Illinois. Her colleague, Daniel T. Fenske, also counsel for MAA, will appear live at the hearing

should the Court grant this motion and excuse Ms. Miller’s appearance.

       MAA has conferred with Plaintiffs, who have indicated that they do not oppose this Motion.




                                                1


Case 3:23-md-03071         Document 995        Filed 10/04/24     Page 1 of 3 PageID #: 16584
DATED: October 4, 2024                       Respectfully submitted
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                                              and Mid-America Apartments, L.P.




                                 2


Case 3:23-md-03071       Document 995   Filed 10/04/24   Page 2 of 3 PageID #: 16585
                             CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule 7.01(a)(1), the undersigned conferred with counsel for Plaintiffs
who indicated they are unopposed to the relief requested in this motion.

       DATED this 4th day of October, 2024.
                                                    /s/ Britt M. Miller
                                                    Britt M. Miller



                                CERTIFICATE OF SERVICE

       I hereby certify that on October 4, 2024, I electronically filed the foregoing document with
the Clerk of the Court using the CM/ECF system, which will send notification of such filing to all
attorneys of record registered on the CM/ECF system.

       DATED this 4th day of October, 2024.



                                                      /s/ Britt M. Miller
                                                      Britt M. Miller




                                                3


Case 3:23-md-03071         Document 995        Filed 10/04/24      Page 3 of 3 PageID #: 16586
